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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION



 UNITED STATES OF AMERICA,                Case No. CR-15-02-GF-BMM-JTJ

             Plaintiff,

 vs.                                                 ORDER

 DONELLE PARKER,

             Defendant.


       Defendant Donelle Parker, having filed an Unopposed Motion to Dismiss

Petition and Vacate Hearing;

       IT IS HEREBY ORDERED that the Supervised Release Violation Petition

(Docket 141) in this matter is hereby DISMISSED;

       IT IS FURTHER HEREBY ORDERED that the Revocation Hearing currently

scheduled for Tuesday, December 12, 2017, at 2:00 p.m. is VACATED.

       DATED this 11th day of December, 2017.




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